S,. `8"`mj-00577-DUTY Document 3 Filed 12/10/18 Page 1 of 2 Page |D #:167

  
 

(1?ev.12/09) Search and Sez‘zure Warrant (Page 2)

Return

 

Case No.. Date and time warrant executed Copy of warrant and inventory left with:

18:18-1\/1.¢-00577 Noth/\L,M 7,;10\€6»7@?&0@ t r§ bet msi LE\A/l §

, tnt/enton made in the presence of:

   

 

 

 

 

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, [nventory of the propezlty taken and name of any person(s) seized

l ` t [Please provide a description that would be Suffieient to demonstrate that the items seized fall Within the items authorized to be
seized pursuant to the wairant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). It` reference is made to an attached description ofproperty, specify the

number of pages to the attachment and any case number appearing thereon.]

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Certificatiolt (by officer present during the execution of the Warrant)

 

I declare under penalty ofpe)g'ury that 1 ant an ojj‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s Ojjice,

 

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AUSA$ Jake D. Nal'e, 714~338-3549

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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